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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA                       )
                                                 )
                 VS.                             )       CAUSE NO: 2:05 CR 143
                                                 )
  RUDOLPHO HEREDIA                               )


     MOTION FOR ORDER TO PRODUCE STATEMENT AND TRANSCRIPT

         Comes now the Defendant, Rudolpho Heredia, by and through counsel, and
  moves the Court to order that the government provide the Defendant with a condensed
  discernable version of the Defendant’s visually “taped” statement and a typed transcript
  thereof and in support thereof says:
     1. That the government has provided the Defendant’s attorney with six (6) discs
         which proportedly contain thirty (30) hours of video/audio tape of the Defendant,
         Rudolpho Heredia, whole he was confined in the State of Illinois immediately
         subsequent to his arrest.
     2. That said CDs can only be played on a computer and are said to contain
         statements/confessions of the Defendant, however the vast majority of the CDs
         are of the Defendant sitting alone in a jail cell.
     3. That the government has advised Defendant’s attorney that the
         statements/confessions of the Defendant are broken up into a variety of
         segments/interviews which are dispersed over the entire six (6) CDs without any
         information being given as to exactly where the statements can be found therein.
     4. That the Defendant’s attorney, two members of his staff and another person have
         attempted to play, find and retrieve the statements of the Defendant on said CDs
         however, all have been unsuccessful in doing so.
     5. That the Defendant’s attorney has contacted an outside business in an effort to
         retrieve said statements, condense same and make a copy that can be easily played
         and watched. Defendant’s attorney was told that without the relevant segments




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            being previously located, it would cost at least eight hundred dollars ($800.00) to
            nine hundred dollars ($900.00) to locate them and re-record them as requested.
       6. That the Defendant has been deemed indigent by the Court and cannot afford to
            pay said costs.
       7. That the Defendant’ s attorney has been given another CD, by the government,
            which is approximately eleven (11) minutes long and which contains a collage of
            the portion(s) of the Defendant’ s statements that the government intends to
            introduce into evidence at trial. This collage of statements is only a part of what
            is contained on the original set of CDs referred to herein above and the individual
            portions are scattered throughout the entire six CD set.
       8. That without the relief requested herein, i.e.; a playable condensed version of the
            entirety of any and all interviews of the Defendant and all of his
            statements/confessions and a transcription thereof, it is impossible for
            Defendant’ s counsel to formulate objections to the government’ s exhibit and
            impossible for Defendant’ s counsel to ask for redactions, deletions, or additions to
            said exhibit.
            WHEREFORE: The Defendant, Rudolpho Heredia, moves the Court to order
  the government to immediately produce a condensed discernable version of the
  Defendant’ s visually “taped” statement and a typed transcript thereof.




                      RESPECTFULLY SUBMITTED:                           s/Arlington J. Foley
                                                                        Arlington J. Foley
                                                                        Attorney for Defendant




                                             CERTIFICATE OF SERVICE

             I certify that on the 30th day of December, 2005 service of a true and complete copy of the Motion for Order
  to Produce Statement and Transcript was made upon each party or attorney of record herein by the electronic case
  filing system (ECF).

                                By:       s/Arlington J. Foley
                                          Arlington J. Foley
                                          Attorney at Law




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